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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER E. BROWN,                         )
an individual,                                )
                                              )       CASE NO.:
               Plaintiff,                     )
vs.                                           )
                                              )
100 EAST ROOSEVELT ROAD, LLC,                 )
an Illinois Limited Liability Company,        )
                                              )
               Defendant.                     )
                                              /

                                         COMPLAINT

       Plaintiff, CHRISTOPHER E. BROWN, through his undersigned counsel, hereby files this

Complaint and sues 100 EAST ROOSEVELT ROAD, LLC, an Illinois Limited Liability Company,

for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS

WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the Americans

       With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the “ADA”).

       This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, CHRISTOPHER E. BROWN, (hereinafter referred to as “MR. BROWN”), is a

       resident of the State of New York.

4.     Plaintiff, MR. BROWN is a qualified individual with a disability under the ADA. MR.

       BROWN suffers from Arthrogryposis, which causes him to be confined to a wheelchair. The


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      condition also causes atrophy in his arms, hands, shoulders, and elbows, which makes it

      extremely difficult for him to reach for, grip, and manipulate objects.

.5.   Due to his disability, Plaintiff MR. BROWN is substantially impaired in several major life

      activities and requires a wheelchair for mobility.

6.    Defendant, 100 EAST ROOSEVELT ROAD, LLC, an Illinois Limited Liability Company,

      (hereinafter referred to as “100 EAST” or “Defendant”), is registered to do business in the

      State of Illinois. Upon information and belief, 100 EAST is the owner and/or operator of the

      real property and improvements which are the subject of this action, to wit: the Property,

      known as The Courtyard, generally located at 100 E. Roosevelt Rd., Villa Park, Illinois

      60181.

7.    All events giving rise to this lawsuit occurred in the Northern District of Illinois.

                       COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

8.    Plaintiff realleges and reavers the preceeding paragraphs as if they were expressly restated

      herein.

9.    The Property is a shopping center and is open to the public and provides goods and services

      to the public.

10.   Plaintiff MR. BROWN visited the Property, generally located at 100 E. Roosevelt Rd., Villa

      Park, Illinois 60181, and attempted to utilize the goods and services offered at the Property.

11.   While at the Property, MR. BROWN experienced serious difficulty accessing the goods and

      utilizing the services therein due to the architectural barriers discussed herein.




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12.   MR. BROWN continues to desire to visit the Property, but fears that he will again encounter

      serious difficulty due to the barriers discussed herein.

13.   MR. BROWN plans to and will visit the Property in the near future to utilize the goods and

      services offered thereon.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and is

      discriminating against the Plaintiff due to Defendant’s failure to provide and/or correct, inter

      alia, the following barriers to access which were personally observed and encountered by

      Plaintiff:

              A.      Plaintiff observed inaccessible parking throughout the Property due to

                      excessive long and cross slopes and a drain improperly placed in the access

                      aisle;

              B.      Plaintiff experienced inaccessible curb cuts from the parking to the sidewalks

                      throughout the Property due to excessive long slopes and side flares;

              C.      Plaintiff experienced inaccessible entrances to several stores and/or

                      restaurants throughout the Property due to a failure to provide a smooth

                      transition due to excessive lips; and

              D.      Plaintiff encountered inaccessible payment/service counters due to excessive

                      height.

15.   Defendant either does not have a policy to assist people with disabilities or refuses to enforce

      such a policy if it does exist.

16.   Independent of his intent to return as a patron to the Property, Plaintiff additionally intends

      to return to the Property as an ADA tester to determine whether the barriers to access


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       discussed herein have been remedied.

17.    Removal of the barriers to access located on the Property is readily achievable, reasonably

       feasible and easily accomplishable without placing an undue burden on Defendant.

18.    Removal of the barriers to access located on the Property would allow Plaintiff to fully

       utilize the goods and services located therein.

19.    The Plaintiff has been obligated to retain undersigned counsel for the filing and prosecution

       of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and expenses

       paid by Defendant.

       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its facility

               to make it accessible and usable by individuals with disabilities to the

               full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and




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E.     That the Court award such other and further relief as it deems

       necessary, just and proper.

                             Respectfully Submitted,

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                              By:    /s/ Michael P. Kelley
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